 4:24-cv-03037-JFB-PRSE           Doc # 5    Filed: 02/27/24      Page 1 of 1 - Page ID # 29




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

KEVIN ROGERS,

                     Plaintiff,                                    4:24CV3037

       vs.
                                                        MEMORANDUM AND ORDER
NATIONAL ACTION NETWORK INC.,
ALFRED    CHARLES  SHARPTONJR.,
PETER JOSEPH GLEASON, and KAREN-
NICOLE KNAPPER,

                     Defendants.


       Plaintiff Kevin Rogers, a non-prisoner, filed a Motion for Leave to Proceed in

Forma Pauperis. Filing No. 2. Upon review of Plaintiff’s Motion, the Court finds that

Plaintiff is financially eligible to proceed in forma pauperis.

       IT IS THEREFORE ORDERED that leave to proceed in forma pauperis is

granted, and the Complaint shall be filed without payment of fees. Plaintiff is advised

that the next step in his case will be for the Court to conduct an initial review of his

claims to determine whether summary dismissal is appropriate under 28 U.S.C. §

1915(e)(2). The Court will conduct this initial review in its normal course of business.



       Dated this 27th day of February, 2024.


                                                   BY THE COURT:



                                                   Joseph F. Bataillon
                                                   Senior United States District Judge
